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                          4000 Luxottica Place • Mason, OH 45040 • 513-765-6000




                                 NOTICE OF NON-RENEWAL
                                 OF FRANCHISE AGREEMENT


February 11, 2022

Via Email and UPS Delivery
dawngray54@outlook.com; jaidangray@yahoo.com

Jeffrey Gray
Dawn Gray
Brave Optical, Inc.
Pearle Vision Store #8655
Preston Park Shopping Center
1713 Preston Road, Suite A
Plano, Texas 75093

RE:     Non-Renewal Notice for Brave Optical, Inc.
        Legacy Store #8655 (the “Location”)

Dear Jeff and Dawn:

Reference is made to the Franchise Agreement by and between Luxottica of America Inc. f/k/a Luxottica
Retail North America Inc., the franchisor of Pearle Vision™ (“Pearle Vision”), and Brave Optical, Inc.
(“Franchisee”) effective November 23, 2011, as amended, regarding the Pearle Vision Store located at
1713 Preston Road, Suite A, Plano, Texas 75093 (the “Franchise Agreement”).

Pursuant to Sections 1.8 and 17 of your Franchise Agreement, the Franchise Agreement will expire on
February 28, 2022 (the “Expiration Date”). Because you are not and have not for some time been in
compliance with the Franchise Agreement and there is no reasonable prospect that you will come into
compliance by the Expiration Date, you are not eligible to renew the Franchise Agreement.

Section 17.3 of your Franchise Agreement includes the conditions you must satisfy in order for Pearle
Vision to renew your Franchise Agreement. These conditions include, among other things, that you are
not in default of your Franchise Agreement and that you have satisfied all money obligations to Pearle
Vision. According to our records, your account is currently past due in the amount of $230,824.48 as of
January 27, 2022, with some of those amounts more than thirty (30) months past due. Because you
currently have unsatisfied monetary obligations and because you are in default of the Franchise
Agreement, you are not eligible for renewal of your Pearle Vision Franchise Agreement.
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                                                                                                    Jeffrey Gray
                                                                                                     Dawn Gray
                                                                                              Brave Optical, Inc.
                                                                                              February 11, 2022


Accordingly, this letter shall serve as notice that your Franchise Agreement will expire on February 28,
2022 (the “Expiration Date”).

In accordance with paragraph 19 of the Franchise Agreement, commencing on the Expiration Date you
must comply with the following post expiration requirements which expressly survive the expiration of
the Franchise Agreement:

        A.      Cease using the Pearle Vision System and the Marks immediately upon the Scheduled
                Expiration Date of the Franchise Agreement;

        B.      Immediately pay to Pearle Vision all sums that are or will become due and owing
                resulting from or related to the operation of the Location pursuant to the Franchise
                Agreement;

        C.      Cooperate with Pearle Vision to provide for an orderly disposition of any assets used in
                the operation of the business;

        D.      Change the Location’s appearance in accordance with Pearle Vision’s directions so as to
                clearly distinguish it from a Pearle Vision System store at Franchisee’s expense;

        E.      Cease and desist from the use of the telephone number(s) listed in the “Yellow Pages” or
                “White Pages: of any telephone directories under the name “Pearle Vision” or “Pearle”;

        F.      Transfer all telephone numbers and related directory listings to Pearle Vision or Pearle
                Vision’s designee as instructed per the enclosed De-Identification Checklist;

        G.      Refrain from publicizing or promoting yourself as a former Pearle Vision System
                Franchisee or Location;

        H.      Return to Pearle Vision all manuals and other Pearle Vision System materials;

        I.      As permitted by law, provide to Pearle Vision a copy of all customer retail records which
                were provided in connection with the Location as instructed per the enclosed De-
                Identification Checklist; and

        J.      For a period of one (1) year following the Expiration Date, not directly or indirectly, engage
                in any other business, located at or within a three (3) mile radius of the Location, which
                business offers or sells retail optical products or optical professional services or which offers
                or sells any other service or product which comprises or may in the future comprise part of
                the Pearle Vision System (or any product or service confusingly similar thereto), including
                engaging in such competitive business as a proprietor, partner, investor, shareholder, owner,
                director, officer, employee, principal, agent, advisor, lender, tenant or consultant thereof.

I have attached a checklist to provide you with some assistance with de-identification of your Location.
Any provision of this Agreement which imposes an obligation after termination or expiration of this
Agreement will continue to be enforceable in spite of the termination or expiration of the Agreement for
any reason, including termination by a trustee in any bankruptcy proceeding.
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                                                                                                Jeffrey Gray
                                                                                                 Dawn Gray
                                                                                          Brave Optical, Inc.
                                                                                          February 11, 2022


No one or more of the following acts by Pearle Vision shall be construed as an extension or implied
renewal of the Franchise Agreement or its right to take any actions permitted under the Franchise
Agreement, or any other agreement between Franchisee and Pearle Vision:

        A.      Collecting or accepting royalty, advertising, or promissory note payments or any other
                sums owed to Pearle Vision by Franchisee.

        B.      Continuing to allow Franchisee to use the trademarks, service marks, trade names, logos
                or confidential information.

        C.      Continuing to otherwise transact business with Franchisee or on Franchisee’s behalf,
                including but not limited to furnishing Franchisee with various benefits and services
                provided for in the Agreement. Nothing contained herein is intended to constitute an
                election of any remedy to which Pearle Vision may be entitled, nor does Pearle Vision waive
                any right that it might possess in connection with the Franchise Agreement or other defaults
                arising under the Franchise Agreement or Security Agreement.

Please confirm you will fulfill your remaining obligations under the Franchise Agreement as well as the post
expiration obligations referenced above.

I look forward to hearing from you.

Sincerely,

Luxottica of America Inc.




David L. Reiter Jr.
Vice President, Franchise Stores

cc:     Jon Womack
        Katie Miltner
        Kelly Combs
        Daren Keenan
        Greg Mullan
        Michelle Thaler
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                               DE-IDENTIFICATION CHECKLIST

     Ask Accounts Receivable Representative to make payment arrangements and communicate those to
      Accounts Receivable.

     Confirm the following:

       All materials and indicia bearing the Pearle Vision trademarks, trade names and logos are
        removed from the Location.

       All promotions (print, internet, and other media) featuring the Location as a Pearle Vision
        Franchise EyeCare Center are terminated.

       All Manuals are returned to Greg Mullan at Luxottica of America Inc. at 4000 Luxottica
        Place, Mason, OH 45040. This includes, but not limited to, the Pearle Vision Excellence
        Playbook, the Pearle Vision Operations Manual, STARS Manual (if applicable) and any other
        internal manuals with the Pearle Vision name or logo. Forms with the Pearle Vision logo on
        them can be shredded.

       All outdoor signage bearing the Pearle trademarks are removed, and any interior or exterior
        signage is removed to “clearly distinguish” the Location from a Pearle Vision.

       A copy of all customer records which were provided in connection with the Location have
        been sent to: Pearle Vision Store Legacy #8683, Village at Collin Creek, 601 W. Plano
        Pkwy, Suite 141B, Plano, Texas 75075.

       All patients have been notified in writing of the location of their records.

       The telephone number and related directory listings have been transferred to: Pearle Vision
        Store Legacy #8683, Village at Collin Creek, 601 W. Plano Pkwy, Suite 141B, Plano, Texas
        75075; Ph: 972-881-1197.

         You must initiate the transfer of the telephone number(s) with your telephone company.

       The telephone is no longer answered “Pearle Vision”.

       Any and all social media outlets have been shut down and any “hyperlinks” or “hot links”
        included on your website have been removed.

       You will adhere to the non-compete (in general terms, for a period of one (1) year, Franchisee
        cannot operate or participate in a retail optical store or optometric office within a radius of
        three (3) miles from the Location).

       If you have AcuityLogic or OD Pro, Pearle will take the necessary steps to shut down the
        system. The hardware is yours to dispose of as you wish. For AcuityLogic users, please
        contact Eyefinity to change or cancel your license.
